
266 P.3d 879 (2012)
173 Wn.2d 1006
STATE of Washington, Respondent,
v.
James John CHAMBERS, Petitioner.
No. 86474-8.
Supreme Court of Washington.
January 4, 2012.

ORDER
¶ 1 Department I of the Court, composed of Chief Justice Madsen and Justices C. Johnson, Owens, J.M. Johnson and Wiggins, considered at its January 4, 2012, Motion Calendar, whether review should be granted pursuant to RAP 13.4(b), and unanimously agreed that the following order be entered.
¶ 2 IT IS ORDERED:
¶ 3 That the Petition for Review is granted. Any party may serve and file a supplemental brief within 30 days of the date of this order, see RAP 13.7(d).
  /s/ Madsen, C.J.
CHIEF JUSTICE
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